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                 EXHIBIT 66
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                                 17-CR-017349A




                                                               Signed: 6/5/2017 12:00 PM
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                                          FOURTH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill NICOLAS GOMEZ HALL and
NICOLAS GOMEZ HALL, a human being, in the commission of an unlawful act, not amounting to a felony;
and in the commission of a lawful act which might have produced death, in an unlawful manner, and without
due caution and circumspection.
                                           FIFTH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill TRAVIS SAMUEL HOUGH and
TRAVIS SAMUEL HOUGH, a human being, in the commission of an unlawful act, not amounting to a felony;
and in the commission of a lawful act which might have produced death, in an unlawful manner, and without
due caution and circumspection.
                                           SIXTH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill JUSTIN RILEY FRITZ and
JUSTIN RILEY FRITZ, a human being, in the commission of an unlawful act, not amounting to a felony; and
in the commission of a lawful act which might have produced death, in an unlawful manner, and without due
caution and circumspection.
                                         SEVENTH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill DAVID RILEY CLINE and
DAVID RILEY CLINE, a human being, in the commission of an unlawful act, not amounting to a felony; and
in the commission of a lawful act which might have produced death, in an unlawful manner, and without due
caution and circumspection.
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                                           EIGHTH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill BRANDON CHASE
WITTENAUER and BRANDON CHASE WITTENAUER, a human being, in the commission of an unlawful
act, not amounting to a felony; and in the commission of a lawful act which might have produced death, in an
unlawful manner, and without due caution and circumspection.
                                            NINTH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill CASH COLLINS ASKEW and
CASH COLLINS ASKEW, a human being, in the commission of an unlawful act, not amounting to a felony;
and in the commission of a lawful act which might have produced death, in an unlawful manner, and without
due caution and circumspection.
                                            TENTH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill JOSEPH HUDSON MATLOCK
and JOSEPH HUDSON MATLOCK, a human being, in the commission of an unlawful act, not amounting to a
felony; and in the commission of a lawful act which might have produced death, in an unlawful manner, and
without due caution and circumspection.
                                         ELEVENTH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill PETER WADSWORTH and
PETER WADSWORTH, a human being, in the commission of an unlawful act, not amounting to a felony; and
in the commission of a lawful act which might have produced death, in an unlawful manner, and without due
caution and circumspection.
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                                          TWELFTH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill NICOLE RENAE SIEGRIST and
NICOLE RENAE SIEGRIST, a human being, in the commission of an unlawful act, not amounting to a felony;
and in the commission of a lawful act which might have produced death, in an unlawful manner, and without
due caution and circumspection.
                                        THIRTEENTH COUNT
The undersigned further deposes and says on information and belief, that said MAX CARDIN HARRIS,
DERICK ION ALMENA did, in the County of Alameda, State of California, on or about December 2, 2016,
commit a FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL
CODE of California, in that said defendant(s) did unlawfully, and without malice, kill BENJAMIN JOEL
RUNNELS and BENJAMIN JOEL RUNNELS, a human being, in the commission of an unlawful act, not
amounting to a felony; and in the commission of a lawful act which might have produced death, in an unlawful
manner, and without due caution and circumspection.
                                       FOURTEENTH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill GRIFFIN SEAN MADDEN and
GRIFFIN SEAN MADDEN, a human being, in the commission of an unlawful act, not amounting to a felony;
and in the commission of a lawful act which might have produced death, in an unlawful manner, and without
due caution and circumspection.
                                         FIFTEENTH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill JENNIFER ANN MENDIOLA and
JENNIFER ANN MENDIOLA, a human being, in the commission of an unlawful act, not amounting to a
felony; and in the commission of a lawful act which might have produced death, in an unlawful manner, and
without due caution and circumspection.
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                                        SIXTEENTH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill CHELSEA FAITH DOLAN and
CHELSEA FAITH DOLAN, a human being, in the commission of an unlawful act, not amounting to a felony;
and in the commission of a lawful act which might have produced death, in an unlawful manner, and without
due caution and circumspection.
                                      SEVENTEENTH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill ARA CHRISTINA JO and ARA
CHRISTINA JO, a human being, in the commission of an unlawful act, not amounting to a felony; and in the
commission of a lawful act which might have produced death, in an unlawful manner, and without due caution
and circumspection.
                                       EIGHTEENTH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill DRAVEN EULOGIO MCGILL
and DRAVEN EULOGIO MCGILL, a human being, in the commission of an unlawful act, not amounting to a
felony; and in the commission of a lawful act which might have produced death, in an unlawful manner, and
without due caution and circumspection.
                                       NINETEENTH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill WOLFGANG G RENNER and
WOLFGANG G RENNER, a human being, in the commission of an unlawful act, not amounting to a felony;
and in the commission of a lawful act which might have produced death, in an unlawful manner, and without
due caution and circumspection.
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                                       TWENTIETH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill MICAH DANEMAYER and
MICAH DANEMAYER, a human being, in the commission of an unlawful act, not amounting to a felony; and
in the commission of a lawful act which might have produced death, in an unlawful manner, and without due
caution and circumspection.
                                      TWENTY FIRST COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill EDMUND LAPINE II and
EDMUND LAPINE II, a human being, in the commission of an unlawful act, not amounting to a felony; and in
the commission of a lawful act which might have produced death, in an unlawful manner, and without due
caution and circumspection.
                                    TWENTY SECOND COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill ALEX GHASSAN and ALEX
GHASSAN, a human being, in the commission of an unlawful act, not amounting to a felony; and in the
commission of a lawful act which might have produced death, in an unlawful manner, and without due caution
and circumspection.
                                     TWENTY THIRD COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill MICHELLE MARIE SYLVAN
and MICHELLE MARIE SYLVAN, a human being, in the commission of an unlawful act, not amounting to a
felony; and in the commission of a lawful act which might have produced death, in an unlawful manner, and
without due caution and circumspection.
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                                    TWENTY FOURTH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill MATTHEW BOHLKA and
MATTHEW BOHLKA, a human being, in the commission of an unlawful act, not amounting to a felony; and
in the commission of a lawful act which might have produced death, in an unlawful manner, and without due
caution and circumspection.
                                      TWENTY FIFTH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill HANNA RUAX and HANNA
RUAX, a human being, in the commission of an unlawful act, not amounting to a felony; and in the commission
of a lawful act which might have produced death, in an unlawful manner, and without due caution and
circumspection.
                                      TWENTY SIXTH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill NICHOLAS DAY WALRATH and
NICHOLAS DAY WALRATH, a human being, in the commission of an unlawful act, not amounting to a
felony; and in the commission of a lawful act which might have produced death, in an unlawful manner, and
without due caution and circumspection.
                                    TWENTY SEVENTH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill JONATHAN MICHAEL
BERNBAUM and JONATHAN MICHAEL BERNBAUM, a human being, in the commission of an unlawful
act, not amounting to a felony; and in the commission of a lawful act which might have produced death, in an
unlawful manner, and without due caution and circumspection.
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                                     TWENTY EIGHTH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill ALEX BENJAMIN VEGA and
ALEX BENJAMIN VEGA, a human being, in the commission of an unlawful act, not amounting to a felony;
and in the commission of a lawful act which might have produced death, in an unlawful manner, and without
due caution and circumspection.
                                     TWENTY NINTH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill MICHELA ANGELINA
GREGORY and MICHELA ANGELINA GREGORY, a human being, in the commission of an unlawful act,
not amounting to a felony; and in the commission of a lawful act which might have produced death, in an
unlawful manner, and without due caution and circumspection.
                                         THIRTIETH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill BARRETT CHUBB CLARK and
BARRETT CHUBB CLARK, a human being, in the commission of an unlawful act, not amounting to a felony;
and in the commission of a lawful act which might have produced death, in an unlawful manner, and without
due caution and circumspection.
                                       THIRTY FIRST COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill JENNIFER KIYOMI TANOUYE
and JENNIFER KIYOMI TANOUYE, a human being, in the commission of an unlawful act, not amounting to
a felony; and in the commission of a lawful act which might have produced death, in an unlawful manner, and
without due caution and circumspection.
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                                     THIRTY SECOND COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill JENNIFER MORRIS and
JENNIFER MORRIS, a human being, in the commission of an unlawful act, not amounting to a felony; and in
the commission of a lawful act which might have produced death, in an unlawful manner, and without due
caution and circumspection.
                                      THIRTY THIRD COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill VANESSA PLOTKIN and
VANESSA PLOTKIN, a human being, in the commission of an unlawful act, not amounting to a felony; and in
the commission of a lawful act which might have produced death, in an unlawful manner, and without due
caution and circumspection.
                                     THIRTY FOURTH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill WILLIAM DIXON and WILLIAM
DIXON, a human being, in the commission of an unlawful act, not amounting to a felony; and in the
commission of a lawful act which might have produced death, in an unlawful manner, and without due caution
and circumspection.
                                      THIRTY FIFTH COUNT
The undersigned further deposes and says on information and belief, that said DERICK ION ALMENA, MAX
CARDIN HARRIS did, in the County of Alameda, State of California, on or about December 2, 2016, commit a
FELONY, to wit: INVOLUNTARY MANSLAUGHTER, a violation of section 192(b) of the PENAL CODE of
California, in that said defendant(s) did unlawfully, and without malice, kill JOHN NICHOLAS IGAZ and
JOHN NICHOLAS IGAZ, a human being, in the commission of an unlawful act, not amounting to a felony;
and in the commission of a lawful act which might have produced death, in an unlawful manner, and without
due caution and circumspection.
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